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    8   Fox Film Corporation, and Fox Broadcasting
        Company
    9

   10
                           UNITED STATES DISTRICT COURT
   11
                          CENTRAL DISTRICT OF CALIFORNIA
   12
                                        WESTERN DIVISION
   13

   14
        TWENTIETH CENTURY FOX                     Case No. 2:15-cv-02158 PA(FFMx)
   15   TELEVISION, a division of
        TWENTIETH CENTURY FOX FILM                    [PROPOSED] STATEMENT OF
   16   CORPORATION, a Delaware company,              UNCONTROVERTED FACTS
        et al.,                                       AND CONCLUSIONS OF LAW
   17                                                 IN SUPPORT OF FOX’S NOTICE
                          Plaintiffs,                 OF MOTION AND MOTION
   18                                                 FOR SUMMARY JUDGMENT
              v.
   19
        EMPIRE DISTRIBUTION, INC., a              Judge: Hon. Percy Anderson
   20   California corporation,
                                                  Hearing Date: February 1, 2016
   21                     Defendant.              Time: 1:30 p.m
                                                  Place: Courtroom 15
   22   And related counterclaims
   23

   24

   25

   26

   27
   28                                                            [PROPOSED] STATEMENT OF
                                                                UNCONTROVERTED FACTS &
                                                                      CONCLUSIONS OF LAW
                                                             CASE NO. 2:15-CV-02158 PA(FFMX)
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    1         After consideration of the papers in support of and in opposition to Twentieth
    2   Century Fox Television, a division of Twentieth Century Fox Film Corporation,
    3   and Fox Broadcasting Company’s (collectively, “Fox”) Motion For Summary
    4   Judgment (“Motion”), the Court hereby makes its findings of uncontroverted facts
    5   and conclusions of law as follows:
    6                             UNCONTROVERTED FACTS
    7
                 Uncontroverted Fact                              Evidence
    8
        First Amendment
    9
        1. Empire is a musical dramatic            • Bywater Decl. ¶ 2
   10
           television series set in New York,      • Ryan Decl. ¶ 2
   11
           which tells the story of a fictional    • Defendant’s Answer to Complaint,
   12
           company called Empire Enterprises.         attached to Lens Decl. as Ex. 3 at p.
   13
                                                      37 ¶ 10; p. 38 ¶ 23
   14
                                                   • Defendant’s Counterclaims, attached
   15
                                                      to Lens Decl. as Ex. 4 at p. 54 ¶ 20
   16
                                                   • DVDs of Empire, lodged with Court
   17
                                                      as Exs. 11 & 13 to Lens Decl.,
   18
                                                      passim, including, e.g., Season 1,
   19
                                                      Episode 1 at 2:57 (Statue of Liberty);
   20
                                                      Season 1, Episode 2 at 47:53-57
   21
                                                      (Lucious Lyon’s New York license
   22
                                                      plate and Statue of Liberty); Season
   23
                                                      1, Episode 4 at 36:06 (announcement
   24
                                                      for event in NYC at Leviticus, the
   25
                                                      club owned by Empire Enterprises)
   26
                                                   • Blazek Decl. ¶ 2
   27
   28                                                              [PROPOSED] STATEMENT OF
                                                                  UNCONTROVERTED FACTS &
                                                                        CONCLUSIONS OF LAW
                                                               CASE NO. 2:15-CV-02158 PA(FFMX)
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    1
        2. In Empire, when drug-dealer-turned-       • Cover of DVD set of Empire: The
    2
           music-mogul Lucious Lyon (played              Complete First Season, attached to
    3
           by played by Academy Award-                   Lens Decl. as Ex. 10 at p. 135
    4
           nominee Terrence Howard) is               • DVDs of Empire, lodged with Court
    5
           diagnosed with a fatal disease, his ex-       as Exs. 11 & 13 to Lens Decl.,
    6
           wife, Cookie (played by Academy               passim
    7
           Award-nominee Taraji P. Henson),          • Blazek Decl. ¶ 2
    8
           and their three sons fight for future     • February 16, 2015 Letter From
    9
           control over Lucious’ entertainment           Defendant’s Counsel To Fox
   10
           company.                                      (Exhibit A to Fox’s Complaint),
   11
                                                         attached to Lens Decl. as Ex. 2 at p.
   12
                                                         23.
   13

   14   3. The fictional Empire Enterprises          • DVDs of Empire, lodged with Court
   15      produces hip-hop and R&B hits, owns           as Exs. 11 & 13 to Lens Decl.,
   16      a nightclub, makes champagne and              passim, including, e.g., Season 1,
   17      sneakers, and generates hundreds of           Episode 2 at 34:56 (nightclub);
   18      millions of dollars in annual revenue.        Season 1, Episode 8 at 28:46
   19                                                    (champagne); Season 1, Episode 2 at
   20                                                    1:38 (sneakers); Season 1, Episode 9
   21                                                    at 31:59 (revenue)
   22                                                • Blazek Decl. ¶ 2
   23
        4. Empire features songs in each             • Bywater Decl. ¶ 2
   24
           episode, including original songs         • Defendant’s Answer to Complaint,
   25
           produced by Timothy “Timbaland”               attached to Lens Decl. as Ex. 3 at p.
   26
           Mosley.                                       37 ¶ 10
   27
   28                                                                  [PROPOSED] STATEMENT OF
                                                                      UNCONTROVERTED FACTS &
                                                   -2-                      CONCLUSIONS OF LAW
                                                                   CASE NO. 2:15-CV-02158 PA(FFMX)
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    1
        5. The Soundtracks comprise songs that    • Bywater Decl. ¶¶2-3
    2
           appear in Empire.                      • Ross Decl. ¶¶ 2-5
    3
                                                  • Defendant’s Answer to Complaint,
    4
                                                     attached to Lens Decl. as Ex. 3 at p.
    5
                                                     38 ¶ 23
    6

    7   6. Defendant has not alleged in the       • Defendant’s Counterclaims, attached
    8      Counterclaims that Fox has made any       to Lens Decl. as Ex. 4 at pp. 47-71
    9      statements explicitly misleading
   10      consumers as to the source of Empire
   11      or the Soundtracks.
   12   7. Fox’s products do not contain any      • DVDs of Empire, lodged with Court
   13      representation as to Empire               as Exs. 11 & 13 to Lens Decl.,
   14      Distribution’s endorsement or             passim
   15      affiliation.                           • Blazek Decl. ¶ 2
   16                                             • CDs of Soundtracks, lodged with
   17                                                Court as Exs. 15 & 17 to Lens Decl.,
   18                                                passim
   19                                             • Cover of DVD set of Empire: The
   20                                                Complete First Season, attached to
   21                                                Lens Decl. as Ex. 10 at p. 135
   22                                             • Covers of albums Empire: Original
   23                                                Soundtrack From Season 1 and
   24                                                Empire: Original Soundtrack Season
   25                                                2 Volume 1, attached to Lens Decl.
   26                                                as Exs. 14 & 16 at pp. 143, 145
   27                                             • Amazon.com sales pages for
   28                                                              [PROPOSED] STATEMENT OF
                                                                  UNCONTROVERTED FACTS &
                                               -3-                      CONCLUSIONS OF LAW
                                                               CASE NO. 2:15-CV-02158 PA(FFMX)
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    1
                                                         Empire: Music From The Pilot and
    2
                                                         Empire: Music From A Man Sinned
    3
                                                         Against, attached to Lens Decl.
    4
                                                         ¶¶ 17-18 as Exs. 18-19 at pp. 147-50
    5
                                                     • Ryan Decl. ¶ 6
    6

    7   Likelihood of Confusion
    8   8. Defendant is a music record label and     • Defendant’s Counterclaims, attached
    9      music distribution company.                   to Lens Decl. as Ex. 4 at p. 50 ¶ 9
   10
        9. Defendant does not allege in its          • Defendant’s Counterclaims, attached
   11
           Counterclaims that it produces                to Lens Decl. as Ex. 4 at pp. 47-71
   12
           broadcast television programming or
   13
           that it intends to expand into
   14
           broadcast television programming.
   15
        10. Defendant claims the rights to three     • Compare Fox’s Complaint, attached
   16
           marks, none of which is federally             to Lens Decl. as Ex. 2 at p. 11 ¶¶ 14-
   17
           registered: “Empire,” the application         16 with Defendant’s Answer to
   18
           for which was submitted in April              Complaint, attached to Lens Decl. as
   19
           2015, and “Empire Recordings” and             Ex. 3 at p. 37 ¶¶ 14-16
   20
           “Empire Distribution,” the                • Reynolds Decl. ¶¶ 8-14
   21
           applications for which were submitted • Ryan Decl. ¶ 2
   22
           in December 2014, after Fox
   23
           announced on November 19, 2014 the
   24
           forthcoming premiere of Empire.
   25
        11. The USPTO has over 650 registered        • Empire Search Results from USPTO,
   26
           or pending applications for “empire”          attached to Reynolds Decl. ¶ 2 as Ex.
   27
   28                                                                 [PROPOSED] STATEMENT OF
                                                                     UNCONTROVERTED FACTS &
                                                   -4-                     CONCLUSIONS OF LAW
                                                                  CASE NO. 2:15-CV-02158 PA(FFMX)
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    1
           related marks.                               1 at pp. 10-27
    2

    3   12. Searches for corporations and limited   • Empire Entity Search Results from
    4      liability companies/limited                  California Business Searches,
    5      partnerships on California’s Secretary       attached to Reynolds Decl. ¶¶ 6-7 as
    6      of State website for entity names with       Exs. 21-22 at pp. 262-89
    7      the word “empire” generates over
    8      5,000 results.
    9   13. Empire Distribution is not the only     • Empire Music Search Results from
   10      record label with the word “empire”          USPTO, attached to Reynolds Decl.
   11      as part of its name.                         ¶ 3 as Exs. 2-3 at pp. 28-159
   12                                               • Empire Record Label Search Results
   13                                                   from discogs.com & Label
   14                                                   Webpages, attached to Reynolds
   15                                                   Decl. ¶ 4 as Exs. 4-11 at pp. 160-231
   16                                               • Empire Music Company Internet
   17                                                   Search Webpages, attached to
   18                                                   Reynolds Decl. ¶ 5 as Exs. 12-20 at
   19                                                   pp. 232-61
   20
        14. Defendant has admitted this case        • Defendant’s Responses To Fox’s
   21
           constitutes its lone trademark               First Set of Interrogatories, attached
   22
           enforcement effort.                          to Lens Decl. as Ex. 5 at p. 78
   23
                                                        (Interrogatory No. 10)
   24

   25

   26

   27
   28                                                                [PROPOSED] STATEMENT OF
                                                                    UNCONTROVERTED FACTS &
                                                  -5-                     CONCLUSIONS OF LAW
                                                                 CASE NO. 2:15-CV-02158 PA(FFMX)
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    1
        15. Fox has never used the name “Empire • DVDs of Empire, lodged with Court
    2
          Distribution” on or in connection with     as Exs. 11 & 13 to Lens Decl.,
    3
          any of its products.                       passim
    4
                                                   • Blazek Decl. ¶ 2
    5
                                                   • CDs of Soundtracks, lodged with
    6
                                                     Court as Exs. 15 & 17 to Lens Decl.,
    7
                                                     passim
    8
                                                   • Cover of DVD set of Empire: The
    9
                                                     Complete First Season, attached to
   10
                                                     Lens Decl. as Ex. 10 at p. 135
   11
                                                   • Covers of albums Empire: Original
   12
                                                     Soundtrack From Season 1 and
   13
                                                     Empire: Original Soundtrack Season
   14
                                                     2 Volume 1, attached to Lens Decl.
   15
                                                     as Exs. 14 & 16 at pp. 143, 145
   16
                                                   • Amazon.com sales pages for
   17
                                                     Empire: Music From The Pilot and
   18
                                                     Empire: Music From A Man Sinned
   19
                                                     Against, attached to Lens Decl. ¶¶
   20
                                                     17-18 as Exs. 18 & 19 at pp. 147-50
   21
                                                   • Ryan Decl. ¶ 6
   22

   23   16. Columbia Records, a division of Sony • Bywater Decl. ¶ 3
   24     Music Entertainment, acts as the         • Ross Decl. ¶ 2-5
   25     record label for the Empire
   26     soundtrack music and distributes
   27     Empire’s original songs.
   28                                                             [PROPOSED] STATEMENT OF
                                                                 UNCONTROVERTED FACTS &
                                              -6-                      CONCLUSIONS OF LAW
                                                              CASE NO. 2:15-CV-02158 PA(FFMX)
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    1
        17. Empire: The Original Soundtrack          • Ross Decl. ¶ 4
    2
           From Season 1 is released and
    3
           distributed with the album cover
    4
           shown in Exhibit 2 to the Ross
    5
           Declaration.
    6
        18. Empire: The Original Soundtrack          • Ross Decl. ¶ 5
    7
           Season 2 Volume 1 is released and
    8
           distributed with the album cover
    9
           shown in Exhibit 3 to the Ross
   10
           Declaration.
   11
        19. Empire: The Original Soundtrack          • Billboard Chart for Week of March
   12
           From Season 1 debuted as the number           28, 2015, attached to Ross Decl. ¶ 4
   13
           one album on the Billboard 200 chart          as Ex. 1 at p. 3
   14
           for the week of March 28, 2015.
   15
        20. Fox has sold hundreds of thousands       • Defendant’s Responses To Fox’s
   16
           of units of the music associated with         First Set of Interrogatories, attached
   17
           Empire.                                       to Lens Decl. as Ex. 5 at p. 74
   18
                                                         (Interrogatory No. 6)
   19

   20   21. Empire’s Season 1 finale attracted       • Ryan Decl. ¶ 3.
   21      more than 16 million same-day
   22      viewers.
   23   22. Empire’s Season 2 premiere debuted       • Defendant’s Responses To Fox’s
   24      to an audience of over 20 million             First Set of Interrogatories, attached
   25      viewers.                                      to Lens Decl. as Ex. 5 at p. 74
   26                                                    (Interrogatory No. 6)
   27
   28                                                                 [PROPOSED] STATEMENT OF
                                                                     UNCONTROVERTED FACTS &
                                                   -7-                     CONCLUSIONS OF LAW
                                                                  CASE NO. 2:15-CV-02158 PA(FFMX)
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    1
        23. Consumers who purchase soundtracks • Report of Ted Cohen, attached to
    2
           are generally familiar with the              Lens Decl. as Ex. 7 at p. 88
    3
           underlying show or movie.                • Ross Decl. ¶ 3 (approximately 90%
    4
                                                        of Empire’s digital Soundtrack
    5
                                                        purchases within seven days of
    6
                                                        episode airing)
    7

    8   24. Fox uses the marks shown in Figures     • Compare Fox’s Complaint, attached
    9      2-5 of Complaint; Paragraph 21 of            to Lens Decl. as Ex. 2 at pp. 13-14,
   10      defendant’s Counterclaims (first             ¶¶ 25-26 with Defendant’s Answer
   11      image); Paragraph 6 of the                   to Complaint, attached to Lens Decl.
   12      Declaration of Shannon Ryan; and             as Ex. 3 at p. 39 ¶¶ 25-26
   13      Exhibits 2-3 of the Declaration of       • Defendant’s Counterclaims, attached
   14      Andrew Ross.                                 to Lens Decl. as Ex. 4 at p. 54 ¶ 21
   15                                                   (first image)
   16                                               • Ryan Decl. ¶ 6
   17                                               • Amazon.com sales pages for
   18                                                   Empire: Original Soundtrack From
   19                                                   Season 1 and Empire: Original
   20                                                   Soundtrack Season 2, Volume 1,
   21                                                   attached to Ross Decl. ¶¶ 4-5 as Exs.
   22                                                   2 & 3 at pp. 5-11
   23

   24

   25

   26

   27
   28                                                                [PROPOSED] STATEMENT OF
                                                                    UNCONTROVERTED FACTS &
                                                  -8-                     CONCLUSIONS OF LAW
                                                                 CASE NO. 2:15-CV-02158 PA(FFMX)
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    1
        25. Fox’s Empire marks are generally           • Ryan Decl. ¶ 5
    2
           accompanied by the Fox house mark
    3
           and/or well-known elements from the
    4
           show.
    5
        26. Fox has spent millions of dollars to       • Ryan Decl. ¶ 2
    6
           advertise and promote Empire and the • Defendant’s Responses to Fox’s
    7
           Soundtracks.                                    First Set of Interrogatories, attached
    8
                                                           to Lens Decl. as Ex. 5 at p. 74
    9
                                                           (Interrogatory No. 6)
   10

   11   27. The necklace depicted in Paragraph         • Raftery Decl. ¶ 2
   12      22 of Empire Distribution’s
   13      Counterclaims was used as a prop on
   14      the show and was not offered for sale.
   15   28. Defendant uses the logos identified in     • Defendant’s Counterclaims, attached
   16      Paragraphs 16, 17, 18, 21 and 22 of             to Lens Decl. as Ex. 4 at pp. 52-55
   17      its Counterclaims.                              ¶¶ 16-18, 21-22
   18
        29. Defendant alleges shared use of            • Defendant’s Counterclaims, attached
   19
           “online stores such as iTunes, Google           to Lens Decl. as Ex. 4 at p. 55 ¶ 23;
   20
           Play, Amazon.com, and Spotify” but              pp. 47-71
   21
           does not allege in its Counterclaims
   22
           that it advertises its marks on
   23
           television, billboards, or print media.
   24

   25   30. Defendant’s examples of its “Marks         • Defendant’s Counterclaims, attached
   26      [being] promoted online” are                    to Lens Decl. as Ex. 4 at pp. 52-53
   27      Instagram posts by its CEO, Ghazi
   28                                                                   [PROPOSED] STATEMENT OF
                                                                       UNCONTROVERTED FACTS &
                                                     -9-                     CONCLUSIONS OF LAW
                                                                    CASE NO. 2:15-CV-02158 PA(FFMX)
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    1
           Shami, with the posting in Paragraph           ¶¶ 16-18
    2
           16 receiving 25 likes.
    3
        31. As of the date of filing, Ghazi          • Lens Decl. ¶ 20
    4
           Shami’s Instagram account has fewer
    5
           than 5,000 followers.
    6
        32. As of the date of filing, Empire         • Lens Decl. ¶ 20
    7
           Distribution’s Instagram account has
    8
           approximately 6,000 followers.
    9
        33. As of the date of filing, Fox’s Empire   • Lens Decl. ¶ 20
   10
           Instagram account has over 1.6
   11
           million followers.
   12
        34. The screenshots of albums in             • Defendant’s Counterclaims, attached
   13
           Paragraph 23 of defendant’s                    to Lens Decl. as Ex. 4 at pp. 55-58
   14
           Counterclaims do not show                      ¶ 23
   15
           defendant’s marks; defendant
   16
           highlighted the albums it released.
   17
        35. The poster in Paragraph 27 of            • Defendant’s Counterclaims, attached
   18
           defendant’s Counterclaims lists “Yazz          to Lens Decl. as Ex. 4 at pp. 59-60
   19
           of Fox’s Hit TV Show ‘Empire.’”                ¶ 27
   20

   21   36. The Instagram comment                    • Defendant’s Counterclaims, attached
   22      “#teamCookie” in Paragraph 29 of               to Lens Decl. as Ex. 4 at pp. 60-61
   23      defendant’s Counterclaims contains             ¶ 29
   24      no other text.
   25   37. The Facebook comment in Paragraph        • Defendant’s Counterclaims, attached
   26      30 of defendant’s Counterclaims by             to Lens Decl. as Ex. 4 at pp. 61-62
   27      GSlaps, states, in part, that
   28                                                                    [PROPOSED] STATEMENT OF
                                                                        UNCONTROVERTED FACTS &
                                                 - 10 -                       CONCLUSIONS OF LAW
                                                                     CASE NO. 2:15-CV-02158 PA(FFMX)
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    1
           “@nima_empire … agreed to have                    ¶ 30
    2
           Empire (NOT the TV show) digitally
    3
           distribute the music of
    4
           @JohnnyPhrank and @Alocodaman;
    5
           two artists who I manage.”
    6
        38. When asked to state the basis for its       • Defendant’s Responses To Fox’s
    7
           allegation of confusion in Paragraph              First Set of Interrogatories, attached
    8
           20 of the Counterclaims, defendant                to Lens Decl. as Ex. 5 at pp. 75-77
    9
           listed the examples found in its                  (Interrogatory No. 8)
   10
           response to Interrogatory No. 8.
   11
        39. Expert Deborah Jay concluded that           • Report of Deborah Jay, attached to
   12
           the survey she conducted “strongly                Lens Decl. as Ex. 8 at p. 96
   13
           supports the conclusion that potential
   14
           viewers of the Empire television
   15
           series are not likely to mistakenly
   16
           believe that Empire Distribution (or
   17
           Empire Recordings) is the source, the
   18
           sponsor of, or affiliated with the
   19
           Empire television series (i.e., there is
   20
           not a likelihood of confusion).”
   21
        Dilution
   22
        40. Defendant has not identified any            • Defendant’s Counterclaims, attached
   23
           evidence in its Counterclaims to                  to Lens Decl. as Ex. 4 at pp. 47-71
   24
           support its conclusory assertions that
   25
           its marks are widely recognized by
   26
           the general consuming public.
   27
   28                                                                     [PROPOSED] STATEMENT OF
                                                                         UNCONTROVERTED FACTS &
                                                    - 11 -                     CONCLUSIONS OF LAW
                                                                      CASE NO. 2:15-CV-02158 PA(FFMX)
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    1
        41. Empire Distribution was formed in          • Compare Fox’s Complaint, attached
    2
           June 2011.                                       to Lens Decl. as Ex. 2 at p. 11 ¶ 19
    3
                                                            with Defendant’s Answer to
    4
                                                            Complaint, attached to Lens Decl. as
    5
                                                            Ex. 3 at p. 37 ¶ 19
    6

    7                                CONCLUSIONS OF LAW
    8         As set forth in Fox’s summary judgment papers and Proposed Judgment:
    9         1.     Courts in this District have granted summary judgment in cases
   10   involving the interplay of the Lanham Act and First Amendment. See, e.g., E.S.S.
   11   Entm’t 2000 v. Rock Star Videos, 547 F.3d 1095, 1099, 1101 (9th Cir. 2008);
   12   Novalogic, Inc. v. Activision Blizzard, 41 F. Supp. 3d 885, 901 (C.D. Cal. 2013).
   13         2.     Courts in the Ninth Circuit evaluate trademark infringement claims
   14   involving expressive works using the test articulated in Rogers v. Grimaldi, 875
   15   F.2d 994, 999 (2d Cir. 1989). See, e.g., Mattel, Inc. v. MCA Records, Inc., 296 F.3d
   16   894, 902 (9th Cir. 2002); E.S.S., 547 F.3d at 1099.
   17         3.     Under the Rogers test, the Lanham Act does not apply to artistic works
   18   unless “[1] the title has no artistic relevance to the underlying work whatsoever, or,
   19   [2] if it has some artistic relevance, unless the title explicitly misleads as to the
   20   source or the content of the work.” Rogers, 875 F.2d at 999.
   21         4.     Empire and its Soundtracks are core expressive works protected by the
   22   First Amendment. Id. at 998.
   23         5.     Fox qualifies for First Amendment protection under the first prong of
   24   the Rogers test since the undisputed facts establish that Fox’s use of the word
   25   “empire” in connection with Empire and its Soundtracks has artistic relevance to
   26   the works, which tell the story of a New York (the “Empire State”) based
   27   conglomerate, called “Empire Enterprises.”
   28                                                                    [PROPOSED] STATEMENT OF
                                                                        UNCONTROVERTED FACTS &
                                                   - 12 -                     CONCLUSIONS OF LAW
                                                                     CASE NO. 2:15-CV-02158 PA(FFMX)
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    1         6.     Fox qualifies for First Amendment protection under the second prong
    2   of the Rogers test since the undisputed facts establish that Fox’s use of the word
    3   “empire” in connection with Empire and its Soundtracks does not explicitly mislead
    4   consumers as to the source or content of the show and its Soundtracks.
    5         7.     Because Fox qualifies for First Amendment protection under both
    6   prongs of the Rogers test, defendant’s federal trademark infringement claim is
    7   barred as a matter of law. See, e.g., MCA, 296 F.3d at 900.
    8         8.     The First Amendment also bars claims for trademark dilution unless
    9   the speech at issue is “purely commercial.” Id. at 906-07.
   10         9.     Because Fox’s use of the word “empire” in connection with Empire
   11   and its Soundtracks has artistic relevance to the works, Fox’s speech is not “purely
   12   commercial” and defendant’s federal dilution claim is barred as a matter of law.
   13   See Stewart Surfboards, Inc. v. Disney Book Grp., LLC, 2011 WL 12877019, at *8
   14   (C.D. Cal. May 11, 2011).
   15         10.    The First Amendment defense applies equally to bar defendant’s state
   16   law trademark and dilution claims and state and federal unfair competition claims.
   17   See Kerr Corp. v. Tri Dental, Inc., 2013 WL 990532, at *4 (C.D. Cal. Mar. 11,
   18   2013); E.S.S., 547 F.3d at 1101; Gucci Am., Inc. v. Pieta, 2006 WL 4725706, at *7
   19   (C.D. Cal. Jan. 23, 2006).
   20         11.    In addition to the First Amendment protections, Fox’s use of “empire”
   21   is not actionable unless it creates a likelihood of confusion with defendant’s
   22   products that results in mistaken purchasing decisions. See M2 Software, Inc. v.
   23   Madacy Entm’t, 421 F.3d 1073, 1080 (9th Cir. 2005); Bosley Med. Inst., Inc. v.
   24   Kremer, 403 F.3d 672, 676-77 (9th Cir. 2005).
   25         12.    Courts in the Ninth Circuit use the factors set forth in AMF Inc. v.
   26   Sleekcraft Boats, 599 F.2d 341, 348-49 (9th Cir. 1979), to evaluate whether there is
   27   a likelihood of this type of confusion: “(1) strength of the mark; (2) proximity [or
   28                                                                [PROPOSED] STATEMENT OF
                                                                    UNCONTROVERTED FACTS &
                                                - 13 -                    CONCLUSIONS OF LAW
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    1   relatedness] of the goods; (3) similarity of the marks; (4) evidence of actual
    2   confusion; (5) marketing channels used; (6) type of goods and the degree of care
    3   likely to be exercised by the purchaser; (7) defendant’s intent in selecting the mark;
    4   and (8) likelihood of expansion of the product lines.” M2 Software, 421 F.3d at
    5   1080.
    6           13.   It is not necessary for all of the Sleekcraft factors to favor a party in
    7   order for a Court to grant summary judgment. Surfvivor Media, Inc. v. Survivor
    8   Prods., 406 F.3d 625, 631-34 (9th Cir. 2005).
    9           14.   This standard also governs claims for unfair competition and
   10   trademark infringement under California law. See, e.g., Grupo Gigante SA De CV
   11   v. Dallo & Co., Inc., 391 F.3d 1088, 1100 (9th Cir. 2004); Cleary v. News Corp., 30
   12   F.3d 1255, 1262-63 (9th Cir. 1994).
   13           15.   Under the Sleekcraft test, defendant has failed to establish a genuine
   14   issue of material fact that confusion between Fox’s marks and defendant’s marks is
   15   probable, and defendant’s claims for trademark infringement thus fail as a matter of
   16   law. See, e.g., Cohn v. Petsmart, Inc., 281 F.3d 837, 842-44 (9th Cir. 2002).
   17           16.   Trademark dilution prohibits uses of a “famous mark that is
   18   distinctive” in a manner “likely to cause dilution by blurring or dilution by …
   19   tarnishment of the famous mark.” 15 U.S.C. § 1125(c)(1).
   20           17.   “A mark is famous if it is widely recognized by the general consuming
   21   public of the United States as a designation of source of the goods or services of the
   22   mark’s owner.” 15 U.S.C. § 1125(c)(2)(A); see also Xen, Inc. v. Citrix Sys., Inc.,
   23   2012 WL 5289609, at *6 (C.D. Cal. Oct. 25, 2012)
   24           18.   California trademark dilution claims “are subject to the same analysis
   25   as the federal Lanham Act claims.” Kerr, 2013 WL 990532, at *4.
   26           19.   Defendant has failed to establish a genuine issue of material fact that
   27   its marks are famous, barring defendant’s state and federal trademark dilution
   28                                                                   [PROPOSED] STATEMENT OF
                                                                       UNCONTROVERTED FACTS &
                                                   - 14 -                    CONCLUSIONS OF LAW
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    1   claims as a matter of law. See, e.g., Xen, Inc., 2012 WL 5289609, at *6; Kerr, 2013
    2   WL 990532, at *4.
    3         20.   For the foregoing reasons, Fox is entitled to summary judgment on all
    4   of defendant’s Counterclaims and on all of Fox’s claims for declaratory judgment.
    5         Dated: December 15, 2015
    6                                              DANIEL M. PETROCELLI
                                                   MOLLY M. LENS
    7                                              CAMERON H. BISCAY
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   13                                              Company
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   28                                                              [PROPOSED] STATEMENT OF
                                                                  UNCONTROVERTED FACTS &
                                               - 15 -                   CONCLUSIONS OF LAW
                                                               CASE NO. 2:15-CV-02158 PA(FFMX)
